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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


   RIDESHARE DISPLAYS, INC.,                           )
                                                       )
                  Plaintiff,                           )
                                                       )
          v.                                           )   C.A. No. 20-1629-RGA-JLH
                                                       )
   LYFT, INC.,                                         )
                                                       )
                  Defendant.                           )
                                                       )

                                     JOINT STATUS REPORT

         Pursuant to the Court’s Oral Order of April 18, 2022, Defendant Lyft, Inc. (“Lyft”) and

  Plaintiff Rideshare Displays, Inc. (“RSDI”) hereby provide a Joint Status Report regarding the

  Final Written Decisions entered by the Patent Trial and Appeal Board (“PTAB”) on April 10, 2023

  regarding all five asserted patents, i.e., U.S. Patent No. 9,892,637 (“the ’637 Patent”), U.S. Patent

  No. 10,169,987 (“the ’987 Patent”), U.S. Patent No. 10,395,525 (“the ’525 Patent”), U.S. Patent

  No. 10,559,199 (“the ’199 Patent”), and U.S. Patent No. 10,748,417 (“the ’417 Patent”).

         The PTAB found all challenged claims of all five asserted patents invalid in the Final

  Written Decisions. See Exhibits 1-5 (Final Written Decisions). The PTAB, however, found that

  certain substitute claims for the ’637 patent (claims 29, 31, and 32) and ’199 patent (claims 3 and

  4) replace cancelled claims for those patents. See Exhibits 1 and 4.

         In view of the PTAB rulings, the parties jointly request that the case remain stayed for sixty

  (60) days so that the parties can evaluate how to best proceed and can consider any potential

  appeals of the above-referenced decisions by which time any Notices of Appeal would be filed.

  The parties propose that the Court enter an order requiring that the parties provide a further status

  report to the Court by June 23, 2023.


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   SEITZ, VAN OGTROP & GREEN, P.A.         ASHBY & GEDDES

   /s/ R. Karl Hill                        /s/ John G. Day

   R. Karl Hill (#2747)                    John G. Day (#2403)
   222 Delaware Avenue, Suite 1500         Andrew C. Mayo (#5207)
   P.O. Box 68                             500 Delaware Avenue, 8th Floor
   Wilmington, DE 19899                    P.O. Box 1150
   (302) 888-7604                          Wilmington, DE 19899
   khill@svglaw.com                        (302) 654-1888
                                           jday@ashbygeddes.com
   Gregory Gewirtz                         amayo@ashbygeddes.com
   Keith E Gilman
   David G Leach                           Jennifer C. Tempesta
   Daniela Caro-Esposito                   Jennifer.tempesta@bakerbotts.com
   LERNER DAVID LLP                        BAKER BOTTS L.L.P.
   (908) 518-6343                          30 Rockefeller Plaza
   ggewirtz@lernerdavid.com                New York, NY 10112-4498
                                           (212) 408-2500
   ATTORNEYS FOR PLAINTIFF
   RIDESHARE DISPLAYS, INC.                Jeremy Taylor
                                           Jeremy.taylor@bakerbotts.com
   Dated: April 24, 2023                   BAKER BOTTS L.L.P.
                                           101 California St., Suite 3600
                                           San Francisco, CA 94111
                                           (415) 291-6200

                                           ATTORNEYS FOR DEFENDANT
                                           LYFT, INC.




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